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                                               900



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                      LONDON


CASE NO. 09-16-DCR                                               ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                                                          PLAINTIFF,



VS.                                   NOTICE OF FILING



RUSSELL CLETUS MARICLE, ET AL,                                                   DEFENDANT,

                                            ** ** **

         Comes the Defendant, Russell Cletus Maricle, by counsel, and herby gives notice of

filing correction to Document 193, Notice of Filing. Specifically the following legible Exhibits

are attached:


       Exhibit No. 1. Commonwealth of Kentucky v. Linsey Nicole Maricle, 00-M-00252,
Pages 2, 3, and 4.

        Exhibit No. 2. Commonwealth of Kentucky v. Linsey N. White, 03-M-00780, Pages 2,
3, and 4.

         Exhibit No. 4. Commonwealth of Kentucky v. Linsey N. White, 04-F-00121, Pages 6
and 7.

      DE (193), Commonwealth of Kentucky v. Linsey Maricle White, Arrest Warrant and
Cover Document to Case No. 04-F-00456, Pages 4, 5, and 6.

                                                            Respectfully submitted,

                                                            /s/ David S. Hoskins
                                                            Attorney At Law
                                                            107 East First Street
                                                            Corbin, Kentucky 40701
                                                            TELEPHONE: (606) 526-9009
                                                            FAX: (606) 526-1021
                                                            Email: davidhoskins@bellsouth.net
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                                    CERTIFICATE OF SERVICE

        The undersigned certifies that on this 7th day of May, 2009, the foregoing was filed
electronically with the Clerk of Court by using CM/ECF System which will send the Notice of
Filing to all counsel of record.

                                                          /s/ David S. Hoskins
                                                          Attorney At Law
